

*914
ORDER

PER CURIAM.
AND NOW, this 3rd day of August, 2006, the Petition for Allowance of Appeal is granted. Additionally, as this Court finds that the Commonwealth Court substituted its determination of the facts of this matter and the credibility of the witnesses for the Workers’ Compensation Judge’s proper assessments, the judgment of the Commonwealth Court is reversed, and the determination of the Workers’ Compensation Judge as affirmed by the Workers’ Compensation Appeal Board is reinstated. See Bethenergy Mines, Inc. v. W.C.A.B. (Skirpan), 531 Pa. 287, 612 A.2d 434 (1992) (holding that determination of facts and credibility are solely within the province of the Workers’ Compensation Judge).
